Case 2:04-cr-20068-.]P|\/| Document 68 Filed 04/27/05 Page 1 of 5 PagelD 99

UN|TED STATES DlSTR|CT COURT md ,
WESTERN DlSTR|CT OF TENNESSEE ' "
N|EMPH|S DlV|SlON

UN|TED STATES OF AMER|CA

FROB&HT t"r. 313

CLEFK. U,S. D‘:
-v- 2:04CR20068-01-Nll W.D. Of-° TN, ME;

CALV|N JONES
Jacob Erwin CJA
Defense Attorney
200 Jefferson Avenue, Suite 1313
Niemphis, TN 38103

 

 

JUDGMENT IN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 2 of the indictment on December 2, 2004.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tit|e & Section NMQM Offense Number(s)
§M
21 U.S.C. § 841(a)(1) Possession with intent to Distribute 09/24/2003 2

Di|audid

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the I\/landatory
Victims Restitution Act of 1996.

Counts 1 and 3 are dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days ofany change of name, residence, or mailing address until all fines, restitutionl costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 10/07/1971 Aprii 25, 2005
Deft’s U.S. Marshai No.: 19493-076

Defendant’s Niailing Address:
3797 Rosa Street
l\/lemphis, TN 38109

/QM/W`@QQ

JON PH|PPS N|CCALLA
N|TE STATES DlSTR|CT JUDGE

April 2 (-O ,2005

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|MPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 151 Months (or 12 Years and 7 Months).

The defendant is remanded to the custody of the United States |Viarsha|.

RETU RN

| have executed this judgment as foilows:

 

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgmentl
UN|TED STATES l\/|ARSHAL
By:

 

Deputy U.S. ivlarsha|

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released Within 72 hours of release from custody of the Bureau of Prisons.

While on supervised reiease, the defendant shall not commit another federai, state

or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafterr as directed by the probation officer.

The defendant shall comply With the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudiciai district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer',

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soldl used.
distributed, or administered‘,

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shatl permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shali notify the probation officer within 72 hours of being arrested or questioned by a

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law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance With such
notification requirementl

13. lf thisjudgment imposes a fine or a restitution obligationr it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance With the Schedule of Payments set
forth in the Criminal lVlonetary Pena|ties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERVISED RELEASE

The defendant shall also comply with the following additional conditions of supervised
releaSe:

1. The defendant shall submit to drug testing and drug treatment programs as directed by the Probation
Oftice.

2. The defendant shall submit to mental health testing and mental health treatment programs as directed
by the Probation Office.

3. The defendant shall cooperate with DNA collection as directed by the Probation Officer.

4. The defendant shall seek and maintain full-time employmentl

CR|M|NAL N|ONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in fu|t before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|i of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Total Fine Tota| Restitution

$100.00
The Specia| Assessment shall be due immediately

FlNE
No fine imposed

REST|TUT|ON
No Restitution was ordered.

 

l ISTRICT COURT - WESRTE DlSTRCIT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 68 in
case 2:04-CR-20068 Was distributed by faX, mail, or direct printing on
Apri129, 2005 to the parties listed.

 

.1 acob E. Erwin
WAGERMAN LAW FIRM
200 .1 efferson Avenue

Ste. 13 13

1\/1emphis7 TN 38103

Leonard E. Lucas

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

